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         EXHIBIT 105-B
    Redacted Version of
Document Sought to be Sealed
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1                    UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                               ---oOo---
4
5      IN RE: FACEBOOK, INC.,
       CONSUMER PRIVACY USER
6      PROFILE LITIGATION
       __________________________/
7                                          MDL No. 2843
8                                          Case No. 18-md-02843-VC-JSC
       This document relates to:
9
       ALL ACTIONS
10     ____________________________/
11
12
13                        ***CONFIDENTIAL***
14
15
16                REMOTE VIDEOTAPED DEPOSITION OF
17                             SIMON CROSS
18                30(B)(6) DESIGNEE, FACEBOOK, INC.
19                _________________________________
20                        MONDAY, MAY 9, 2022
21
22
23
24     REPORTED BY:     HOLLY THUMAN, CSR No. 6834, RMR, CRR
25     JOB NUMBER 5210141

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 1                           --o0o--
 2          Remote videotaped deposition of SIMON CROSS, taken
 3     by the Plaintiffs, with the witness located in London,
 4     United Kingdom, commencing at 3:49 P.M. London Daylight
 5     Time, on MONDAY, MAY 9, 2022, before me, HOLLY THUMAN,
 6     CSR, RMR, CRR.
 7                           --o0o--
 8                         APPEARANCES
 9                  (ALL APPEARANCES REMOTE)
10     FOR THE PLAINTIFFS:
11          KELLER ROHRBACK LLP
            1201 Third Avenue, Suite 3200
12          Seattle, Washington 98101
            By: CARI LAUFENBERG, Attorney at Law
13               CLaufenberg@kellerrohrback.com
            By: ADELE DANIEL, Attorney at Law
14               ADaniel@kellerrohrback.com
            By: DEREK W. LOESER, Attorney at Law
15               DLoeser@kellerrohrback.com
            By: EMMA WRIGHT
16               EWright@kellerrohrback.com
            By: DAVID KO, Attorney at Law
17               DKo@kellerrohrback.com
18
             BLEICHMAR FONTI & AULD
19           555 12th Street, Suite 1600
             Oakland, California 94607
20           By: LESLEY E. WEAVER, Attorney at Law
                  lweaver@bfalaw.com
21           By: MATTHEW MELAMED, Attorney at Law
                  mmelamed@bfalaw.com
22
23
24
25                             (CONTINUED)

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1      to allow a user to choose whether or not an              18:22:01

2      application had access to their data.                    18:22:10

3      BY MR. LOESER:                                           18:22:14

4           Q.   All right.    We've talked a bit about         18:22:20

5      the -- I'm sorry, go ahead.                              18:22:22

6           A.   Sorry.    Carry on.                            18:22:25

7           Q.   Okay.    So moving on, the -- I've asked you   18:22:26

8      some questions about the different permissions, and      18:22:28

9      you've provided some helpful information about the       18:22:31

10     terminology used to discuss different permissions.       18:22:33

11               I do want to make sure I have a complete       18:22:37

12     understanding of all of the different permissions        18:22:40

13     that allowed access to friend information.               18:22:44

14               And I asked before if a number of the          18:22:48

15     permissions had the word "friends" in them, and you      18:22:52

16     said "Yes."                                              18:22:56

17               And it's also the case the number of           18:22:57

18     permissions that provided access to friend               18:22:59

19     information did not have the word "friend" in them.      18:23:02

20     Is that right?                                           18:23:05

21          A.   There were permissions that allowed an app     18:23:08

22     to access information about a user and that user's       18:23:11

23     friends that didn't have "friend" in the title.          18:23:17

24          Q.   Okay.    And I'm going to run through some,    18:23:22

25     and then you can help me understand if there are         18:23:24

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1            Q.      Okay.   And so if you go back to the first   03:47:33

2    page of the document, there's a number of people

3    identified here.         One is KP, and we've talked a bit

4    about him.

5                    But -- but what his -- what was his          03:47:46

6    position, if you know, at this time at Facebook?

7            A.      I wouldn't want to give like a perfectly

8    authoritative answer.

9                    My understanding is he was a strategic

10   partner manager.                                             03:47:59

11           Q.      Okay.   And what -- and what about

12   Ime Archibong?

13           A.      Again, I don't want to be -- don't have

14   an authoritative answer to his job title at the

15   time.        But my understanding is he was the manager      03:48:09

16   of the strategic partnerships team.

17           Q.      Okay.   And Jackie Chang?

18           A.      Similarly, I'm sure I have the

19   authoritative answer, but my understanding is she

20   was a strategic partner manager on the strategic --          03:48:26

21   on the platform partnerships team.

22           Q.      And Chris Daniels?

23           A.      Chris Daniels, again, don't want to give

24   an authoritative answer.

25                   My recollection, though, is that he was      03:48:40

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1    the head of business development.                         03:48:41

2            Q.   Okay.   So now if we go to the -- the

3    beginning of the string, if you look at the email

4    that Jackie Chang wrote to Ime and Chris.

5                 Do you see that towards the bottom of the    03:48:58

6    string?

7            A.   I do.

8            Q.   And the -- the subject line isn't evident

9    on that.     But if you go up to the email above that

10   from Ime, the subject is "Re: T0/Special Cases for        03:49:12

11   P3 consideration."

12                What is -- do you know what T0 refers to

13   here?

14           A.   T0 refers to some partner classification

15   that -- that seems to have been in use at the time.       03:49:29

16           Q.   Okay.   And having looked through this

17   email, this is a discussion of the changes to the

18   Facebook platform that would deprecate certain

19   APIs, including friend permissions; is that right?

20                MR. DAVIS:   Objection.    Form.             03:49:53

21                THE DEPONENT:   My understanding is this

22   is an email thread discussing potential impact of

23   the -- several changes to the API that were being

24   considered at the -- at the time of this email

25   being written.                                            03:50:12

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1         Q.   (By Mr. Loeser)     Okay.    And looking at          03:50:13

2    the Jackie Chang's message, at the beginning of

3    this thread, she states "Working with KP to further

4    synthesize P3 impact by breaking out T0 partners

5    with non-standard agreements and specific                      03:50:26

6    categories of impact that we should address.           KP is

7    working on the pulling the same analysis of the

8    friend data, but we're also working in parallel to

9    parse out key partnerships/scenarios that we should

10   be solving for."                                               03:50:38

11             Do you see that?

12        A.   I see that.

13        Q.   So what Jackie Chang is sorting out here

14   is, among other things, which partners would lose

15   access to friend permissions and which ones would              03:50:50

16   not, right?

17        A.   Jackie Chang is not making any decisions

18   in this email.     What you see here is a conversation

19   between a number of people on the partnerships team

20   attempting to react to a set of potential changes              03:51:09

21   and how they might impact the partner ecosystem.

22        Q.   Okay.     And Jackie Chang is -- is helping

23   to develop a format for how to decide which

24   partners would have access to friend data, for

25   example, and which ones would not, right?                      03:51:28

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1                MR. DAVIS:   Objection.      Form.                03:51:36

2                THE DEPONENT:     This is a group of people

3    attempting to put together their -- their best

4    guess at a framework.       But there's nothing that

5    indicates that this was what was ultimately                   03:51:49

6    implemented.

7         Q.     (By Mr. Loeser)     Okay.    And -- by the

8    way, if you -- in this document, did you see that

9    link there, https, and then there's a long URL?

10        A.     I do.                                             03:52:06

11        Q.     Okay.   How -- how would that work?          If

12   someone sent you this email at Facebook, is -- is

13   that -- if there's a link in a document, it would

14   be something you could click on and you'd then see

15   the document?                                                 03:52:18

16        A.     My understanding is that this is a --

17   some form of online document system, yes.

18        Q.     So in -- in Ms. Chang's email to Ime and

19   Chris, she provides a -- some recommendations for

20   how to bucket different partners in this analysis;            03:52:41

21   is that right?

22        A.     It's hard to confirm what she -- what

23   she's doing here without seeing the original

24   document.

25               She's referring to -- to tabs, for sure.          03:53:00

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1    But hard to know what -- what was on those tabs and       03:53:03

2    how that relates to what's in the email.

3         Q.     So to fully understand this document, you

4    would need the document that is hyperlinked in this

5    email; is that what you're saying?                        03:53:14

6                MR. DAVIS:   Object to the form.

7                THE DEPONENT:     There's references in the

8    email to information in -- in -- in a document,

9    which I don't have the ability to see as of now.

10        Q.     (By Mr. Loeser)     And would it help you     03:53:31

11   understand the context of this email, if you had

12   the ability to see that document?

13               MR. DAVIS:   Object to the form.

14               THE DEPONENT:     Potentially --

15   potentially.    It would depend on the contents of --     03:53:42

16   of the -- the document.       But it also depends on

17   the -- the question you're asking.

18        Q.     (By Mr. Loeser)     And do you recall

19   Ms. Chang being involved in this process of coming

20   up with a format to bucket different groups of            03:53:59

21   partners?

22        A.     Jackie Chang was on the partnerships

23   team, as was I.     And I, yes, recall that a number

24   of people were involved in attempting to assess the

25   proposed changes.                                         03:54:18

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1            Q.   And if you go to the first heading in --      03:54:21

2    in her email, under the hyperlink, it says "T0

3    Tab."

4                 And you're saying you don't recall what

5    category of partners would fall under the T0 tab?          03:54:34

6            A.   I don't recall what category of partners

7    would fall under -- under T0.

8            Q.   Okay.   Now, it looks like that under this

9    category, T0, there are three different

10   considerations that she -- that Jackie Chang               03:54:56

11   identifies.     The first is "




                             ."

14                Can you explain what that means?

15           A.   I would be speculating as to -- as to         03:55:09

16   exactly what that meant.      So hard -- hard to --

17   hard to know.

18                By "                           ," I

19   understand that to mean

                                      .                         03:55:27

21           Q.   And then the next bullet is "Existing

22   integrations impacted."

23                How did the proposed changes to the

24   platform impact existing integrations?

25           A.   Integrations would have been impacted by      03:55:48

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1    the proposed changes in a number of different ways,        03:55:49

2    depending on the precise purpose and design of the

3    integration.

4           Q.   Okay.   So it appears that when coming up

5    with this format, Facebook recognized that there           03:56:00

6    were existing integrations and they could be

7    impacted by the changes to the platform; is that a

8    fair read of that bullet?

9                MR. DAVIS:     Object to the form.

10               THE DEPONENT:     The -- there was             03:56:13

11   expectation at the time that the proposed changes

12   would impact some existing integrations.

13          Q.   (By Mr. Loeser)     And then the next bullet

14   is "Future integrations in planning."

15               That would refer to integrations that had      03:56:30

16   not yet happened, but that Facebook was perhaps

17   considering doing in the future?

18          A.   I don't want to speculate as to exactly

19   what Jackie meant.       Maybe -- maybe -- maybe ask

20   her.    But -- so, yeah, I think maybe ask her.            03:56:46

21          Q.   Okay.   She'd probably be the best person

22   to ask about what she wrote in an email?

23          A.   I think she'd be the best person to ask

24   about what she wrote in an email.

25          Q.   If you look at the next -- next heading,       03:57:02

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1    it's "Risk Assessment Tab."       And the first item on       03:57:04

2    that list is "              Potential partners/cases

3    that may cause                    ."

4                And can you tell me, from Facebook's

5    perspective, what this refers to in the context of            03:57:17

6    a discussion of the introduction of platform 3?

7                MR. DAVIS:     Object to the form.

8                THE DEPONENT:     It's hard to answer that

9    from Facebook's perspective.          I can answer it from

10   a personal perspective.                                       03:57:37

11               My understanding of that is that there

12   may have been a number of companies, developers

13   that, when impacted by these changes would --

14   which --

15               (Brief interruption.)                             03:57:55

16               THE DEPONENT:     -- potentially be publicly

17   vocal about the impact on their integration.

18          Q.   (By Mr. Loeser)     Okay.     And then let's

19   look at the next bullet.

20               It says




                       to fb.     Should

                                                              to

24   fb."

25               Did I read that correctly?                        03:58:24

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1         A.      I think you read that correctly, yeah.             03:58:25

2         Q.      And so based on this, it appears that




                to Facebook, correct?

7                 MR. DAVIS:   Objection.      Form.    And scope.

8                 THE DEPONENT:     I wouldn't say that's

9    correct.     This is a document containing the

10   opinions and ideas of a specific partner manager                03:59:01

11   around nine months before the -- the changes

12   were -- were introduced.        This doesn't, I think,

13   reflect on ultimately how decisions were made.

14        Q.      (By Mr. Loeser)     What -- what is -- what

15   is strategic value?                                             03:59:19

16                What is meant by that?

17        A.      I don't think I can answer what -- what

18   Jackie meant by strategic value in -- in her email.

19   I think that would be a question for her.

20        Q.      And -- and what does Facebook mean by              03:59:32

21   strategic value?

22        A.      I think strategic value could be

23   construed to mean many different things.            I don't

24   think this is specific -- Facebook does not have a

25   specific definition of what strategic value means.              03:59:46

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1         Q.      So Ms. Chang writes "Should




3    to fb."

4                 And so can you tell me, from Facebook's

5    perspective, what does it mean for a use case to be             03:59:59

6    of strategic value to Facebook?

7                 MR. DAVIS:   Objection.      Form.    And scope.

8                 THE DEPONENT:     I can't give a -- a

9    company answer to -- to -- to that question.

10                As -- as I testified earlier, I think              04:00:10

11   there's a wide range of things that may be or could

12   be considered strategic value.

13        Q.      (By Mr. Loeser)     Okay.    So what are some

14   of the things that may make sense in -- in the

15   context of this email string?                                   04:00:21

16                MR. DAVIS:   Objection.      Form.    And scope.

17                THE DEPONENT:     I -- I can't answer on

18   behalf of the company relative -- relative to what

19   a partner manager was writing in an email nine

20   years ago.     So I think it's hard to answer that              04:00:38

21   question.

22        Q.      (By Mr. Loeser)     So Facebook does not

23   have an understanding of what it means for a

24   partner to have strategic value to Facebook?

25                MR. DAVIS:   Objection.      Form.    And scope.   04:00:50

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1                THE DEPONENT:     There's not a standard         04:00:53

2    company definition for what construes strategic

3    value.

4         Q.     (By Mr. Loeser)     And -- and you're not

5    prepared to testify as Facebook's -- as Facebook's           04:01:00

6    representative or designee to testify about what

7    strategic value means to Facebook in the context of

8    its partners?

9                MR. DAVIS:   Objection.      Form.

10               THE DEPONENT:     I could give some              04:01:19

11   examples, per se, that might be considered

12   valuable.    But I can't give you, as you're asking,

13   some kind of universal definition of what strategic

14   value is to -- to Facebook.

15        Q.     (By Mr. Loeser)     What are the examples        04:01:37

16   that you're thinking about?

17        A.     So one example might be a mobile device

18   integration to enable a Facebook-branded

19   application to exist on a mobile operating system.

20        Q.     Are there other examples?                        04:01:59

21        A.     There are probably other examples.           I

22   don't have any in my head immediately to mind.

23        Q.     So you're not prepared to testify, on

24   behalf of Facebook, as to other examples of what

25   strategic value means to Facebook in this context?           04:02:21

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1              MR. DAVIS:   Objection.       Form.   And scope.   04:02:24

2              THE DEPONENT:     Well, I mean, be prepared

3    to testify, I -- you know, I think I could give

4    some more examples -- another example if I had a

5    bit more time to think of one.                               04:02:39

6         Q.   (By Mr. Loeser)     What -- what does it

7    mean to drive value to Facebook -- for a partner to

8    drive value to Facebook?

9              MR. DAVIS:   Objection.       Form.   And scope.

10             THE DEPONENT:     In the context of -- can         04:02:51

11   you help me understand the context in which you're

12   asking.

13        Q.   (By Mr. Loeser)     Sure.

14             In the context of Jackie Chang's proposed

15   format for how to decide which partners should               04:02:59

16   receive continued access to friend permissions.

17             MR. DAVIS:   Same objections.

18             THE DEPONENT:     Yeah.     I think drive value

19   to Facebook -- I mean, I think if you want to

20   understand what she meant by that phrase in an               04:03:12

21   email, you should ask Jackie.

22        Q.   (By Mr. Loeser)     But Facebook doesn't

23   have an answer to that question?

24             MR. DAVIS:   Objection.       Form.   Scope.

25             THE DEPONENT:     As I've said, there's a          04:03:28

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1    number of different ways which might be considered            04:03:29

2    drive -- drive value in this -- in this context.

3            Q.   (By Mr. Loeser)     If you look at the next

4    bullet in Ms. Chang's email, she writes

5    "

                                                          to fb.

7                                 , but may need some

8                                                         ."

9                 Do you understand what she's referring to

10   here?                                                         04:04:08

11           A.   I don't understand what she's -- well, I

12   don't understand -- I can't be sure what she's

13   referring to here.

14           Q.   What would it mean for a

                                                          to       04:04:23

16   Facebook?

17                MR. DAVIS:   Objection.      Form.    Scope.

18                THE DEPONENT:     So hard to give a company

19   answer to that question.

20                On a personal level, one example that            04:04:34

21   might come to mind is where a user might be able to

22   browse their newsfeed in another -- on another

23   platform or -- or app in another application,

24   which -- which meant the user would be browsing

25   their newsfeed in a non-Facebook app.                         04:05:05

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1    that had been proposed by Jackie Chang?                       04:10:22

2                 MR. DAVIS:   Objection.      Form.

3                 THE DEPONENT:     I think the context,

4    again, of this email is important.          This is a -- a

5    team of people, nine months before changes were               04:10:32

6    announced, attempting to find some way to structure

7    their thinking.

8                 In this email, he's referring to,

9    you know, Jackie's framework.         But it's not clear

10   to me what Jackie's framework is.          And it's also      04:10:52

11   not clear whether or not any of this was ultimately

12   used.

13           Q.   (By Mr. Loeser)     Okay.    Well, let's go up

14   to the top of KP's email.

15                He says "Thanks a lot, Jackie.         This is   04:11:05

16   great - I have included the additional info for the

17   strategic partners in the attached spreadsheet as

18   well (for completeness)."

19                Do you see that?

20           A.   I do see that.                                   04:11:19

21           Q.   So he received a format from Jackie,

22   right?

23                MR. DAVIS:   Objection.      Form.

24                THE DEPONENT:     I mean, all I have to go

25   on to answer your questions is what -- what's on              04:11:28

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1    the screen here.                                            04:11:30

2                 I think Jackie or KP need to answer the

3    specifics.

4         Q.      (By Mr. Loeser)     And you can confirm, on

5    behalf of Facebook, that in this email KP                   04:11:41

6    recommended using Jackie's framework for the

7    category described in KP's email as strategic,

8    right?

9                 MR. DAVIS:     Objection.    Form.

10                THE DEPONENT:     I can confirm this email     04:11:54

11   exists.     Sorry.     I can confirm that this document

12   exist.

13                But like I can't confirm anything about

14   the precise nature of a framework or if that was

15   used in any way.                                            04:12:10

16        Q.      (By Mr. Loeser)     Right.

17                And I asked you a slightly different

18   question.

19                It was, can you confirm that KP

20   recommended the use of Jackie's framework?                  04:12:17

21                MR. DAVIS:     Objection.    Form.

22                THE DEPONENT:     Again, all I have to go on

23   is what's on the page here.        So I would be

24   confirming -- confirming what we all can read with

25   our own eyes.        I can't confirm, on behalf of          04:12:33

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1    Facebook, anything more than that.                          04:12:37

2         Q.      (By Mr. Loeser)     And so if Facebook

3    wanted to figure out if Jackie's framework was

4    used, what would Facebook do to identify the answer

5    to that?                                                    04:12:45

6                 MR. DAVIS:   Objection.      Form.

7                 THE DEPONENT:     You want me to stand by

8    what you mean by Jackie's framework was used.

9         Q.      (By Mr. Loeser)     Well, is there something

10   confusing about that statement?                             04:12:55

11        A.      Yes.

12        Q.      Okay.   Well, let's break it down.

13                There's a framework discussed in this

14   email, right?

15        A.      There's the -- there's a framework             04:13:11

16   discussed.     But it's not clear to me exactly what

17   that framework is.

18        Q.      Okay.   But there is a framework that's

19   indicated in Jackie's email to Ime Archibong,

20   right?                                                      04:13:27

21                MS. DAVIS:   Objection.      Form.

22                THE DEPONENT:     She doesn't make a

23   reference to a framework.

24        Q.      (By Mr. Loeser)     If you go back to the

25   heading we were looking at, No. 3, KP refers to             04:13:52

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1    "Jackie's framework," right?                                04:13:56

2         A.      I can see the term here use -- "User

3    Jackie's framework."      I can read that on the page.

4         Q.      Okay.   And at the beginning of this

5    string is a -- is a description of how to bucket            04:14:06

6    different partners, based upon the types of

7    agreement they had, the impact and the risk

8    assessment; is that right?

9                 MR. DAVIS:   Objection.      Form.

10                THE DEPONENT:     As we've discussed,          04:14:28

11   there's a set of bullets on this page and a link to

12   a document.     I'm not sure I construe that as a

13   framework.

14        Q.      (By Mr. Loeser)     Okay.    It appears that

15   KP referred to it as a framework, right?                    04:14:39

16        A.      When he's referring to Jackie's

17   framework, technically he could be referring to

18   something else.      He could be referring to this.

19                It's hard to know.      This is an email

20   thread from nine years ago.        And if you want to       04:14:51

21   know what these people meant, I would ask them.

22        Q.      Well, why don't we look at the end of

23   KP's email, and he writes, "As a general note, I

24   think we need to carry on with this exercise to

25   figure out                                                  04:15:19

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1                                that we

        , before we can make a decision

                          .     For both the

                                     , we can use Jackie's

5    framework to assess                        for those partner     04:15:32

6    falling under the                           and then make up a

7    decision based on the criteria outlined by Jackie

8    below."

9                 Do you see that?

10        A.      I read -- I see it on the page.                     04:15:44

11        Q.      So it seems pretty clear that KP is

12   referring to the framework that Jackie presented

13   below, right?

14                MR. DAVIS:       Objection.     Form.

15                THE DEPONENT:       Again, Jackie doesn't           04:15:55

16   refer to anything about her work as a -- as a

17   framework.

18        Q.      (By Mr. Loeser)          KP refers to her work as

19   a framework; is that right?

20        A.      KP refers to a framework.          It's not         04:16:07

21   abundantly clear if he means Jackie's work as -- as

22   evidenced below.

23        Q.      Okay.       So let's look again.

24                "We can use Jackie's framework to assess

25   KEEP/REMOVE for those partner falling under the                  04:16:23

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1    Strategic tabs and then make up a decision based on            04:16:26

2    the criteria outlined by Jackie below."

3                Do you see that?

4         A.     I see that.

5         Q.     And are there criteria outlined by Jackie          04:16:35

6    below?

7                MR. DAVIS:    Objection.     Form.

8                THE DEPONENT:     Again, like -- I can read

9    an email.    If you want to understand precisely what

10   the people in it meant, I would speak to them.                 04:16:50

11        Q.     (By Mr. Loeser)     Yeah.

12               I'm more interested in what Facebook

13   understands, based upon the work of the employees

14   tasked with trying to decide which partners would

15   continue to have access to friends permissions and             04:17:02

16   which would not.

17               So are you not prepared to testify about

18   Facebook's understanding of how those partners were

19   sorted?

20               MR. DAVIS:    Objection.     Form.    And scope.   04:17:11

21               THE DEPONENT:     I'm prepared to testify

22   that there's a group of people in a partnerships

23   team attempting to put together a way of

24   understanding how these proposed -- the -- the

25   changes proposed at the time might impact the                  04:17:25

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1    sure we understand what's going on here at this            04:18:49

2    stage.

3              Would you consider this a planning stage

4    for platform 3?

5              MR. DAVIS:     Objection.    Form.               04:18:58

6              THE DEPONENT:     Again, I don't know if the

7    company has a view on that.

8              On a personal level, I would -- I -- my

9    understanding of the conversations at the time is

10   that this is part of the preparation for                   04:19:15

11   understanding what the impact those changes might

12   have on the developer ecosystem.

13             So it's certainly before the changes were

14   ultimately announced and before many of the

15   important details of how they would be implemented         04:19:41

16   had been decided.

17        Q.   (By Mr. Loeser)     Okay.    And so Ms. Chang

18   developed what KP refers to as a framework for

19   sorting out which partners and apps would continue

20   to have access to friend permissions and -- is             04:19:52

21   that -- is that right?

22             MR. DAVIS:     Objection.    Form.

23             THE DEPONENT:     As I previously testified,

24   Jackie seems to have put together a document with

25   some categorization in it.     She doesn't refer to        04:20:09

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1    that as a framework.       KP refers to "a" framework.     04:20:12

2    It could be that he's talking about Jackie's work.

3                But to confirm that you'd need to speak

4    to KP or Jackie.

5         Q.     (By Mr. Loeser)     Okay.    And the -- and    04:20:25

6    the people that were involved in the development of

7    the criteria used to sort partners for deciding who

8    would have access to friend permissions were

9    Chris Daniels, Ime Archibong, KP, Jackie Chang and

10   yourself?                                                  04:20:43

11               MR. DAVIS:     Objection.    Form.

12               THE DEPONENT:     This document represents

13   an email thread with some people on it having

14   that -- having a discussion about how to

15   potentially categorize apps that might be affected         04:20:55

16   by the deprecation.

17        Q.     (By Mr. Loeser)     And, sir, who made the

18   final decision on the framework for -- to be used

19   for determining which apps or partners would

20   continue to have access to deprecated permission,          04:21:09

21   such as friend sharing?

22               MR. DAVIS:     Objection.    Form.

23               THE DEPONENT:     I'm not sure how to answer

24   that question.     Yeah.    I'm not sure how to answer

25   that question on behalf of the company.                    04:21:25

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